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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8   INTEGRATIVE HEALTH INSTITUTE
     PLLC, et al.,
 9                                                         Case No. C20-1471-RAJ-MLP
                                 Plaintiffs,
10                                                         ORDER
              v.
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     CHRISTINE SCHAFFNER, et al.,
12
                                 Defendants.
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              On November 12, 2021, the parties filed a Stipulated Motion to Extend Discovery and
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     Pretrial Deadlines. (Dkt. # 90). The parties’ stipulated motion requests that the Court extend the
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     remaining deadlines identified in this Court’s previously issued Pretrial Scheduling Order (dkt.
17
     # 24) by 45 days. (Dkt. # 90 at 1-2.) The parties note there is good cause for the extension due to
18
     protracted disputes about confidentiality, the scope of discovery, remaining depositions, and
19
     Plaintiffs filing of a second amended complaint that added additional defendants and claims. (Id.
20
     at 2.)
21
              Accordingly, based on the parties’ stipulation (dkt. # 90), and finding good cause, the
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     Court hereby ORDERS the following revised pretrial schedule:
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     ORDER - 1
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 1                                     Event                                       Date

 2      Reports of expert witnesses under FRCP 26(a)(2) due                    12/30/2021

 3      All motions related to discovery must be filed by (see                   1/15/2022
        LCR7(d))
 4
        Rebuttal expert disclosures under FRCP 26(a)(2) due                       2/1/2022
 5
        Discovery to be completed by                                              2/1/2022
 6
        All dispositive motions and motions to exclude expert testimony           3/4/2022
 7      for failure to satisfy Daubert must be filed pursuant to LCR 7(d)

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 9         Dated this 15th day of November, 2021.

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12                                                      MICHELLE L. PETERSON
                                                        United States Magistrate Judge
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     ORDER - 2
